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Attorneys for Defendants
REAL TIME RESOLUTIONS, INC.
and RRA CP OPPORTUNITY TRUST 1

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

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OAKLAND DIVISION
10
In Re a Bankruptcy Case No. 08-43574 RLE
11 | Chapter 13
12 || EUTROPIO CANEZARES CORETANA and Adversary Proceeding No. 19-4026 RLE
MARY ELAINE CONTRERAS CORETANA,
13 Sup. Ct. Case No. HG19013119
Debtors.
44 eDrors DECLARATION OF SHAUNA
BOEDEKER IN SUPPORT OF
15 DEFENDANTS REAL TIME
RESOLUTIONS, INC, AND RRA CP
16 OPPORTUNITY TRUST 1’S
OPPOSITION TO MOTION FOR
17 REMAND
18 DATE: August 8, 2019
19 TIME: 11:00 a.m.
CTRM: 201
20 JUDGE: Hon. Roger L. Efremsky
21 ||MARY CORETANA,
22 Plaintiff,
23
v.
24 ||: ‘
REAL TIME RESOLUTIONS, INC., RRA CP
25 || OPPORTUNITY TRUST 1, AND |
26 DOES 1 THROUGH 10, INCLUSIVE,
7 Defendants,
28

I, Shauna Boedeker, declare that: ae
DECL, OF SHAUNA BOEDEKER ISO OPPOSITION TO MOTION FOR REMAND

 

 

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3 1. I am the Chief Financial Officer at Real Time Resolutions, Inc. and in that
2 capacity I have personal knowledge regarding the matters set forth herein.
: 2. In 2008, Bank of America purchased Countrywide Bank and in so doing, loans
5 issued by Countrywide Bank, such as the debtor’s loan herein, were purchased by Bank of
America, Debtor’s loan was sold into a securitization of which the Bank of New York Mellon
° is the Indenture Trustee.
’ 2, On April 22, 2016, pursuant to a Loan Sale Agreement between The Bank of
6 New York Mellon as Indenture Trustee for nine securitization trusts and RRA CP
9 OPPORTUNITY TRUST 1, the debtor's loan was sold to RRA CP OPPORTUNITY TRUST 1.
"0 Debtor’s HELOC, Loan #136828262 was bundled into the CWHEQ Revolving Home Equity
m Loan Trust Series 2006-E, which was one of the nine trusts involved in the Loan Sale
"2 Agreement. (Attached hereto — as Exhibit
“ “A” is a true and correct (redacted) copy of said Loan Sales Agreement, which lists Loan
"4 #136828262 as one of the loans sold.)
8 4, Based on the terms of the Loan Sales Agreement, RRA CP OPPORTUNITY
"6 TRUST 1 is the owner of debtor’s loan #136828262. I am informed and believe that REAL
uv TIME RESOLUTIONS, INC. is the loan servicer for RRA CP OPPORTUNITY TRUST 1 for
"= the Debtor’s Loan. .
"9 I declare, under penalty of perjury, that the foregoing is true and correct. Executed this
20 30" day of July, 2019, in Dallas, Texas.
21
22
23
24 Shauna Boedeker; Chief Financial Officer
25
26
27
28 |
-2-
DECL, OF SHAUNA BOEDEKER ISO OPPOSITION TO MOTION FOR REMAND

 

 

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EXECUTION COPY

 

 

 

LOAN SALE AGREEMENT
Between
The Bank of New York Mellon
as Indenture Trustee of the following Trusts:

CWABS Revolving Home Equity Loan Trust, Series 2004-1
CWABS Revolving Home Equity Loan Trust, Series 2004-P
CWHEQ Revolving Home Equity Loan Trust, Series 2005-A
CWHEQ Revolving Home Equity Loan Trust, Series 2005-E
CWHEQ Revolving Home Equity Loan Trust, Series 2005-I
CWHEQ Revolving Home Equity Loan Trust, Series 2005-M
CWHEQ Revolving Home Equity Loan Trust, Series 2006-E
CWHEQ Revolving Home Equity Loan Trust, Series 2006-G
CWHEQ Revolving Home Equity Loan Trust, Series 2007-E

as Seller
and
RRA CP OPPORTUNITY TRUST 1,

as Purchaser
Charged-off Residential Loans

Dated as of April 22, 2016

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LOAN SALE AGREEMENT

This Loan Sale Agreement (the “Agreement”) is entered into as of April 22, 2016 by and
between The Bank of New York Mellon, not in its individual capacity but solely as Indenture
Trustee (the “Indenture Trustee”) for the following nine securitization trusts (the “Trusts”):

CWABS Revolving Home Equity Loan Trust, Series 2004-I
CWABS Revolving Home Equity Loan Trust, Series 2004-P
CWHEQ Revolving Home Equity Loan Trust, Series 2005-A
CWHEQ Revolving Home Equity Loan Trust, Series 2005-E
CWHEQ Revolving Home Equity Loan Trust, Series 2005-I
CWHEQ Revolving Home Equity Loan Trust, Series 2005-M
CWHEQ Revolving Home Equity Loan Trust, Series 2006-E
CWHEQ Revolving Home Equity Loan Trust, Series 2006-G
CWHEQ Revolving Home Equity Loan Trust, Series 2007-E

SC RONAMNRWNS

(each such Trust, the “Seller”) and RRA CP OPPORTUNITY TRUST 1, a Delaware statutory
trust (the “Purchaser”).

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indenture. The Indenture Trustee shall be afforded all of the rights, protections, immunities and
indemnities set forth in the respective indentures related to the Trusts in connection with any
action it takes hereunder.

IN WITNESS WHEREOF, Seller and Purchaser have caused their names to be signed hereto by
their respective authorized officers as of the date first above written,

THE BANK OF NEW YORK MELLON, not in its
individual capacity but solely as Indenture Trustee
of each Trust identified in this Agreement and the
Loan Schedules

By:
Name:
Title:

 

 

 

RRA CP OPPORTUNITY TRUST 1, Purchaser
By: RRA CP LLC, its administrator

By: Resource Residential Mortgage, LLC, its manager
By:

Name:
Title:

 

 

 

Acknowledge and agreed:

MBIA Insurance Corporation, as Insurer

1 2p i

PA 4 UT
By: y

Name: Sai Uppuluri
Title: _Managing Director

-14.
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indenture. The Indenture Trustee shall be afforded all of the rights, protections, immunities and
indemnities set forth in the respective indentures related to the Trusts in connection with any
action it takes hereunder.

IN WITNESS WHEREOF, Seller and Purchaser have caused their names to be signed hereto by
their respective authorized officers as of the date first above written,

THE BANK OF NEW YORK MELLON, not in its
individual capacity but solely as Indenture Trustee
of each Trust identified in this Agreement and the
Loan Schedules

By:
Name:
Title:

 

 

 

RRA CP OPPORTUNITY TRUST |, Purchaser

By: RRA CP LLC, its administrator
Residential

Cr wi LLE, its manager
By: :

Name: Arr On it CG ce eCey

Title: fe VP

  
 

 

 

Acknowlydwe andl agresd:
MBIA Insurance Corporation, as Insurer

on:
Ey ‘ie

By: wis

Name: Sai Unguluri
Title: _ Managing Director

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IN WITNESS WHEREOF, Seller and Purchaser have caused their names to be signed hereto by
their respective authorized officers as of the date first above written.

THE BANK OF NEW YORK MELLON, not in its
individual capacity but solely as Indenture Trustee

_ of each Trust identified in this Agreement and the
Laan Schedules

hh fel,

Name: GLENN-E MITCHELL /
Title: ree MICE PAEGID ED Tonelnannn

RRA CP OPPORTUNITY TRUST 1, Purchaser
By: RRA CP LLC, its administrator

By: Resource Residential Morigage, LLC, its manager

  

 

 

 

 

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“e i ° 4
By: ., tn,
‘Name: Am tiHoaly Co hieclo
Title; __ Sue
Acknowledge and agreed:
MBIA, Insurance Corporation, as Insurer
By:,
Name:
Title;

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136828262

 

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